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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ||

PERKINS & MARIE CALLENDER’S INC.,! et al., | Case No. 11-11795 (KG)

Jointly Administered

Ref. Docket No. /¥ 25.

FINAL DECREE AND ORDER CLOSING THE DEBTORS’
CHAPTER 11 CASES AND TERMINATING THE SERVICES OF
OMNI MANAGEMENT GROUP LLC AS CLAIMS, BALLOTING, AND
NOTICING AGENT IN THE DEBTORS’ CHAPTER 11 CASES

Debtors.

 

 

 

Upon consideration of the Reorganized Debtors’ Motion for Entry of a Final
Decree and Order Closing the Debtors’ Chapter 11 Cases and Terminating the Services of Omni
Management Group LLC as Claims, Balloting, and Noticing Agent in the Debtors’ Chapter 11
Cases (the “Motion”),” the Court finds that: (i) it has jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the
relief requested in the Motion is in the best interests of the Reorganized Debtors and the Debtors,
their Estates and creditors; (iv) notice of the Motion and the hearing thereon was sufficient under
the circumstances; and (v) after due deliberation, good and sufficient cause exists for the relief
requested in the Motion. Accordingly, it is hereby

ORDERED, ADJUDGED AND DECREED that:

1, The Motion is GRANTED.

 

' The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Perkins &
Marie Callender’s Inc. (4388); Perkins & Marie Callender’s Holding Inc. (3999), Perkins & Marie Callender’s
Realty LLC (N/A); Perkins Finance Corp. (0081); Wilshire Restaurant Group LLC (0938); PMCI Promotions LLC
(7308); Marie Callender Pie Shops, Inc. (7414); Marie Callender Wholesalers, Inc. (1 978); MACAL Investors, Inc.
(4225); MCID, Inc. (2015); Wilshire Beverage, Inc. (5887); and FIV Corp. (3448). The mailing address for the
Debtors is 6675 Poplar Avenue, Suite 800, Memphis, TN 38119.

* Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.

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2, Pursuant to section 350 of the Bankruptcy Code, Bankruptcy Rule 3022,
and Local Rule 5009-1, effective immediately as of the entry of this Order, the following chapter
11 cases (collectively, the “Chapter I] Cases”) are hereby closed and a final decree (this “Final
Decree”) is hereby granted for the Chapter 11 Cases: Perkins & Marie Callender’s Inc., Case
No. 11-11795 (KG); Perkins & Marie Callender’s Holding Inc., Case No. 11-11796 (KG);
Perkins & Marie Callender’s Realty LLC, Case No. 11-11797 (&G); Perkins Finance Corp.,
Case No. 11-11798 (KG); Wilshire Restaurant Group LLC, Case No. 11-11799 G&G); PMCI
Promotions LLC, Case No. ]1-11800 (KG); Marie Callender Pie Shops, Inc., Case No. 11-11801
(KG); Marie Callender Wholesalers, Inc., Case No. 11-11802 (KG); MACAL Investors, Inc.,
Case No. 11-11803 (KG); MCID, Inc., Case No. 11-11804 (KG); Wilshire Beverage, Inc., Case
No. 11-11805 (KG); and FIV Corp., Case No. 11-11806 (KG). Notwithstanding the foregoing,
this Court shall retain jurisdiction with respect to the Chapter 11 Cases as provided for in Article
XI of the Plan and in the Confirmation Order, and entry of this Order and this Final Decree shall
be without prejudice to the rights of any party in interest to seek to reopen the Chapter 11 Cases
pursuant to section 350(b) of the Bankruptcy Code.

3. Pursuant to Local Rule 2002-1(f), the services of Omni as the Claims
Agent are hereby terminated effective immediately as of the entry of this Order.
Notwithstanding the foregoing, in accordance with Local Rule 2002-1 (fix), within thirty (30)
days of the entry of this Order, Omni shall to forward to the Clerk: (a) all Perkins Claims and an
updated Claims Register; (b) a CD of all imaged Perkins Claims; and (c) an Excel spreadsheet
containing all claims information, along with an updated 2002 List and updated Creditor Matrix,
which shall contain the names and addresses of all creditors. In accordance with Local Rule

2002-1(f)(ix), (a) the Claims Register, 2002 List, and Creditor Matrix shall be provided in both

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paper and on disc, in both alphabetical and numerical order, and (b) the 2002 List disc and
Creditor Matrix disc shall be in .txt format.

4. The Reorganized Debtors shall (a) file or otherwise provide to the U.S.
Trustee their Chapter 11 Post-Confirmation Quarterly Summary Report with respect to the
reporting period from the end of the Prior Reporting Period through and including the entry of
this Order (the “Final Period”) on or before October 31, 2012, and (b) pay all United States

Trustee Quarterly Fees due and owing for the Final Period on or before November 15, 2012.

5. This Court shall retain jurisdiction with respect to any and all matters

 

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